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             In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 14-799V
                                      Filed: October 16, 2015

* * * * * * *                *   *   *   *   * *             UNPUBLISHED
KAYE ANN TUFTS,                                *
                                               *             Special Master Gowen
               Petitioner,                     *
                                               *             Joint Stipulation on Damages;
v.                                             *             Influenza (“Flu”) Vaccine;
                                               *             Transverse Myelitis
SECRETARY OF HEALTH                            *
AND HUMAN SERVICES,                            *
                                               *
               Respondent.                     *
                                               *
*    * * *     *   *   *     *   *   *   *   * *

Scott W. Rooney, Nemes, Rooney P.C., Farmington Hills, MI, for petitioner.
Camille M. Collett, United States Department of Justice, Washington, DC, for respondent.

                             DECISION ON JOINT STIPULATION1

    On September 2, 2014, Kaye Ann Tufts (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that, as a result of receiving an influenza (“flu”) vaccination on September 16,
2011, she developed transverse myelitis. Petition at ¶¶ 2, 4. Further, petitioner alleged that she
experienced residual effects of her injury for more than six months. Id. at ¶ 4.



1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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    On October 15, 2015, the parties filed a stipulation in which they state that a decision should be
entered awarding compensation. Respondent denies that the influenza vaccine caused petitioner’s
alleged transverse myelitis, or any other injury or condition. Stipulation ¶ 6. Nevertheless, the
parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

    The parties stipulate that petitioner shall receive the following compensation:

    A lump sum of $200,000.00 in the form of a check payable to petitioner, Kaye Ann
    Tufts. This amount represents compensation for all damages that would be available
    under 42 U.S.C. § 300aa-15(a).

    Id. ¶ 8.

    The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of the
parties’ stipulation.3

    IT IS SO ORDERED.

                                                        s/Thomas L. Gowen
                                                        Thomas L. Gowen
                                                        Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
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